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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                          ABERDEEN DIVISION


 SHANNON MCLEAN                                                           PLAINTIFF

    v.                                                               1:19cv122-SA-RP
                                                                  No.________________

 MISSISSIPPI STATE UNIVERSITY,
 MARK E. KEENUM in his official
 capacity as President of Mississippi
 State University, DR. ANDREW
 MACKIN, DR. GARY J. BURT, and
 JULIE BURT                                                           DEFENDANTS

                                                           (JURY TRIAL DEMANDED)

                                     COMPLAINT

      For these reasons, COMES NOW THE PLAINTIFF, by and through her attorney,

and alleges as follows:

                     JURISDICTION, VENUE, JURY DEMAND

   1. This court has jurisdiction under 28 U.S.C. § 1331 because the suit arises under

      federal law.

   2. Venue is proper under 28 U.S.C. § 1391 because the Defendants and all work at

      issue were located in and around Starkville, Mississippi.

   3. A jury trial is demanded on all issues so triable.

                                       PARTIES

   4. Plaintiff Shannon McLean, is a woman and former student of Defendants.

   5. Defendant Mississippi State University (MSU) is a former educator of Plaintiff.

      Defendant can be served at 240 Wise Center Drive, Mississippi State, MS 39762.



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6. Only Count 1, Title IX, is brought against Defendant MSU. MSU is subject to

   Title IX, for which there is a valid abrogation of immunity. ​See Franklin v.

   Gwinnett County Public Schools​, 503 U.S. 60 (1992).

7. Defendant Mark E. Keenum is being sued solely in his official capacity as

   President of Mississippi State University. Only prospective equitable relief

   concerning violations of federal law is being sought against Mr. Keenum.

8. Defendant Dr. Andrew Mackin is being sued in his individual capacity. He is an

   educator and veterinarian formerly responsible for the education of the Plaintiff.

   All counts except Count 1 are brought against Dr. Mackin.

9. Defendant Dr. Gary J. Burt is being sued in his individual capacity. He is an

   educator and veterinarian formerly responsible for the education of the Plaintiff.

   All counts except Count 1 are brought against Dr. Burt.

10. Defendant Julie Burt is being sued in her individual capacity. She is an employee

   of MSU and formerly played a role in the education of the Plaintiff. All counts

   except Count 1 are brought against Mrs. Burt.

                                      FACTS

11. Plaintiff Major Shannon McLean, DVM, U.S. Army Veterinary Corps (“Maj.

   McLean”) was hired by Defendants as a Small Animal Internal Medicine resident

   at the Mississippi State University College of Veterinary Medicine on or about

   July 2017.

12. Maj. McLean is an active duty Veterinary Corps Officer.




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13. Maj. McLean is under the military direction of Dr. Dennis R. Bell COL, VC,

   Command Veterinarian, Chief, Force Health Protection, US Army Europe, Office

   of the Command Surgeon.

14. The military sponsored Maj. McLean to further her training at MSU College of

   Veterinary Medicine to become a better asset to the United States Army.

15. As a resident, Maj. McLean had roles as a teacher, veterinarian, supervisor of

   staff, and student.

16. In the assessment of teachers, MSU considers - among other things - evaluations

   completed by the students taught.

17. On information and belief, Maj. McLean’s evaluations by her students have been

   average or better during her residency.

18. Specifically, she had a mean of 4.09 out of 5.00 on the Analysis of Educator

   Performance dated April 30, 2018 to July 15, 2018.

19. The Analysis of Educator Performance dated July 16,2018 to January 1, 2019

   noted that approximately 80% of students agree/strongly agree that Maj. McLean

   is a good instructor.

20. On information and belief, her student evaluation scores were better than one or

   more male residents.

21. As a veterinarian, Maj. McLean’s performance is evaluated - in part - based on

   the timeliness of medical records.

22. On information and belief, Maj. McLean’s medical records were about average in

   their timeliness.




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23. In a December 17, 2018, email from Dr. Todd Archer, about ‘delinquent medical

   records’, Maj. McLean ranked about average among the eight people discussed.

24. Dr. Archer’s email told Maj. McLean: “Good job staying on top of your

   delinquent medical records”.

25. The Front Desk Text Communication logs also show Maj. McLean was consistent

   and timely in her return communication with staff, clients and other

   veterinarians.

26. Residency meeting minutes, for May 24, 2018, included positive statements about

   Maj. McLean’s work from staff

              a. ‘We have come to enjoy working with her and appreciated her

                 efficiency and direct approach’.

              b. ‘We would all want her to be their veterinarian for their personal

                 pets’.

              c. Also in the May 24, 2018, Residency Meeting Minutes, a publication

                 presentation in June of 2019 was discussed.

27. Maj. McLean was terminated by MSU from her residency on or about January 2,

   2019.

28. Maj. McLean’s character, work ethic, professional abilities and emotional health

   were stridently criticized in the letter written by Dr. Andrew Mackin to Dr.

   Dennis R. Bell, COL, VC dated 1/4/19. (Letter)

29. The letter stated her discharge letters were “very late,” that she “struggled in

   teaching and communicating with students,” and that she showed “a pattern of




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   not acknowledging or responding to reminder emails and texts from staff

   responsible for tracking timely communications.” It also claimed she had

   “challenging interpersonal interactions that caused stress for staff, other house

   officers, and faculty.” These claims are untrue and harmed Maj. McLean’s

   reputation and work for the military.

30. Maj. McLean was denied due process in her termination on January 2, 2019.

31. In the meeting with Dr. Mackin on January 2, 2019, Dr. Mackin informed her that

   Dr. Archer sent an email to the medicine group with a plan to discuss concerns in

   the new year. Maj. McLean was terminated prior to such meeting.

32. When Maj. McLean asked ‘What happens now’, at the January 2, 2019 meeting,

   Dr. Mackin said ‘If you could get everything packed up and moved out by

   tomorrow morning, that would be good.”

33. Dr. Mackin also said “that these would have been things to discuss at residency

   meetings, but there was ultimately no negotiation and the message was made

   clear to him about her departure.”

34. In addition, on information and belief, Mr. Keenum, Dr. Mackin, Dr. Burt, and

   Ms. Burt suspected that Plaintiff had sent a letter criticizing Defendant MSU to

   others.

35. In fact, she had not sent the letter at issue.

36. Nonetheless, the mistaken belief by her supervisors caused them to retaliate

   against her in violation of 42 U.S.C. § 1983.




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                                 CAUSE OF ACTION

COUNT 1: TITLE IX

  41. Plaintiff incorporates all allegations set forth in all other sections of this

     Complaint.

  42. Title IX of the Civil Rights Act of 1964 states: “​No person in the United States

     shall, on the basis of sex, be excluded from participation in, be denied the

     benefits of, or be subjected to discrimination under any education program or

     activity receiving Federal financial assistance.”

  43. Defendants discriminated against Plaintiff on the basis of sex.

  44. By discriminating on the basis of her sex, Defendants violated Title IX and

     harmed Plaintiff.

COUNT 2: FIRST AMENDMENT: RETALIATION

  45. Plaintiff incorporates all allegations set forth in all other sections of this

     complaint.

  46. Defendants are prohibited by 42 U.S.C. § 1983 from retaliating against Plaintiff

     for engaging in protected speech.

  47. Defendants mistakenly believed that Plaintiff had sent critical correspondence

     about them to others.

  48. In retaliation for this mistaken belief, Plaintiff was removed by the Defendants.

  49. Defendants’ actions constitute unlawful retaliation under the First Amendment.

  50. Defendants acted willfully, knowingly,and purposefully and/or with indifference

     to deprive Plaintiff of her constitutional rights.




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  51. When Defendants deprived Plaintiff of her constitutional rights, Plaintiff was

     harmed.

COUNT 3: DUE PROCESS: LIBERTY INTEREST

  51. Plaintiff incorporates all allegations set forth in all other sections of this

     complaint.

  52. Dr. Mackin’s letter criticizing Plaintiff harmed Plaintiff’s reputation.

  53. Dr. Mackin’s decision to harm Plaintiff’s reputation violated Plaintiff’s

     constitutionally protected liberty interest.

  54. Defendants did not provide Plaintiff procedural due process in depriving her of

     this liberty interest.

  55. Such deprivation without process violates the U.S. Constitution.

  56. This violation harmed Plaintiff.

COUNT 4: DUE PROCESS: PROPERTY INTEREST

  55. Plaintiff incorporates all allegations set forth in all other sections of this

     complaint.

  56. Plaintiff had a property interest in her continued education at Defendant MSU.

  57. Defendants’ decision to end Plaintiff’s education deprived her of this property

     interest.

  58. Defendants did not provide Plaintiff procedural due process in depriving her of

     this property interest.

  59. Such deprivation without process violates the U.S. Constitution.

  60. This violation harmed Plaintiff.




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COUNT 5: SUBSTANTIVE DUE PROCESS

  60. Plaintiff incorporates all allegations set forth in all other sections of this

     complaint.

  61. The Plaintiff had substantive due process interest in her continued education at

     Defendant MSU.

  62. Defendants’ decision to end Plaintiff’s education deprived her of this substantive

     due process interest.

  63. Such deprivation violates the U.S. Constitution.

  64. This violation harmed Plaintiff.

COUNT 6: EQUAL PROTECTION

  65. Plaintiff incorporates all allegations set forth in all other sections of this

     complaint.

  66. The Equal Protection Clause of the U.S. Constitution requires that government

     actors treat similarly situated citizens of different sexes equally unless a

     government actor can prove an exceedingly persuasive justification for unequal

     treatment.

  67. Defendants, government actors, ended the female Plaintiff’s education when

     they would not have ended a similarly situated male student’s education.

  68. Defendants did not have an exceedingly persuasive justification for this unequal

     treatment.

  69. Such unequal treatment violates the U.S. Constitution.

  70. This violation harmed Plaintiff.




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                                       REMEDIES

Plaintiff seeks all remedies available, including but not limited to the following:

   a. A final judgment declaring that the actions of Defendant described herein violate

        the law as alleged;

   b. Lost income or opportunity for earning income;

   c. An injunction curing the violations alleged herein, and prohibiting any future

        similar violations;

   d. Any other equitable relief as the court deems appropriate.

   e. Compensatory damages for emotional distress and any other non-pecuniary

        harms flowing from the actions alleged herein;

   f. Consequential damages and any other pecuniary harms flowing from the

        unlawful acts complained of herein;

   g. Punitive damages commensurate with the misconduct and necessary to deter

        violations of the law;

   h. Notice given to all students regarding the violations found by this court, and

        notifying such students of the order entered proscribing any future similar

        violations;

   i. Pre and post judgment interest;

   j.   Attorney fees;

   k. Costs; and

   l. Any other relief available under any applicable principle in law or equity.




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       The foregoing Complaint is respectfully submitted on behalf of Plaintiff by and

through counsel:

/s/Joel Dillard       Date: ​June 10, 2019
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